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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT ()F TEXAS

FORT WORTH DIVISION
UNITED STATES OF AMERICA
v. Case No. 4:19-MJ-133
BUCK BRUNE (1)
ANTHONY SCOTT SMITH (2) w
ROYAL BRUCE RICHARDS (3) l~

 

JUSTIN PAUL SHAW (4)

WESLEY WAYNE WAKEFoRD (5)
STEPHEN PAUL GRAYBILL (6)
MARK HAMMoND (7)

TAMMY SMITH (8)

ASHLEY GAHAGAN (9) CLERK U.S. DISTR\CT COURT
ALICIA BoULDIN (10) Bv=
HoLLY STAPLEToN (11)

JASoN CARTER (12)

KENNETH WAYNE BARBER (13)

 

Depuly

 

CRIMINAL COl\/IPLAINT

I, Kevin K. BroWn, being duly sworn, state the following is true and correct to the best
of my knowledge and belief:

Conspiracv to Possess a Controlled Substance With Intent to Distribute

Beginning in or before .]anuary 201 8, and continuing until in or around February
2019, in the Fort Worth Division of the Northern District ofTexas, defendants Buck
Brune, Anthony Scott Smith, Royal Bruce Richards, Justin Paul Shaw, Wesley Wayne
Wakeford, Stephen Paul Graybill, Mark Hammond, Tammy Smith, Ashley Gahagan,
Alicia Bouldin, Holly Stapleton, Jason Carter, Kenneth Wayne Barber and others
known and unknown, did knowingly and intentionally combine, conspire, confederate,
and agree to engage in conduct in violation on] U.S.C. §§ 84](a)(]) and (b)(])(C),
namely to possess with intent to distribute a mixture and Substance containing a
detectable amount of methamphetamine a schedule 11 controlled substance, in violation
of2] U.S.C. §846.

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l, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief, but are not inclusive of all the evidence or
information in the case:

l. In July of 2018, members of the Wise County Sheriff’s Offlce, with the assistance
of the Drug Enforcement Administration and the Texas Department of Public Safety,
initiated an investigation in to the methamphetamine trafficking of Buck Brune and
others in Wise County, Texas.

2. During the course of the investigation, Investigators identified Buck Brune,
Anthony Scott Smith, Royal Bruce Richards, Justin Paul Shaw, Wesley Wayne
Wakeford, Stephen Paul Graybill, Mark Hammond, Tammy Smith, Ashley Gahagan,
Alicia Bouldin, Holly Stapleton, Jason Carter, Kenneth Wayne Barber and others
known and unknown as methamphetamine distributors in Wise, Jack, Parker, Tarrant,
and Dallas County, Texas.

3. On or about April 16, 2018, officers with the Bridgeport Police Department, utilizing
a Confidential Informant (CI), set up a controlled purchase of methamphetamine from
Stephen Graybill (hereinafter Graybill). The CI established contact with Graybill
utilizing the Facebook Messenger application and they agreed on a time and place to
conduct the transaction. The CI then met up with Graybill and purchased the $20.00 of
methamphetamine The CI turned the substance over to Bridgeport Offlcers who
transported the substance to the police department Offlcers conducted a presumptive test
on the substance, which was positive for methamphetamine with a gross weight of .5

grams.

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4. On or about June 2, 2018, officers with the Bridgeport Police Department
responded to a narcotics complaint The complainant stated that Graybill was at the
location helping someone load a refrigerator into the back of a pickup truck. At some
point after he observed this, the complainant stated that he discovered a small black
headphone case lying on the ground where Graybill had been standing. At the time,
he/she did not realize it belonged to Graybill. The complainant opened the case and
observed numerous baggies including some that had a substance he/she believed to be
methamphetamine The complainant stated he/she observed Graybill appear to be
franticly looking in the area that he/she found the case. The complainant stated that
he/she waited until Graybill left to contact law enforcement The complainant stated that
he/she was the only person who touched the case. Officers conducted a presumptive test
on the substance, which was positive for the known positive values of methamphetamine
with a gross weight of 18.4 grams.

5. On or about July 31, 2018, Wise County Sheriff’s Deputies interviewed Curtis
Johanson in reference to methamphetamine distribution in Wise County, Texas.
Johanson told Investigators that he (Johanson) received his methamphetamine from
Stephen Paul Graybill at two locations in Bridgeport, Texas. Johanson stated that he
would normally purchase l/ 16 of an ounce to one full ounce of methamphetamine at a
time. Johanson stated that the last time he had purchased an ounce of methamphetamine
from Graybill was approximately l to 1 l/2 months ago. Johanson stated that he would

pay $250.0() to $300.00 per ounce of methamphetamine

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Johanson stated that he had observed Graybill purchase methamphetamine from Anthony
Scott Smith. Johanson provided Investigators with the phone number used by Graybill.
6. On or about August 22, 2018, Wise County Sheriff’ s Deputies established
surveillance on Anthony Scott Smith, driving his white Dodge pickup in Wise County,
Texas. Deputies were monitoring Smith’s movements and received information that he
was at XXX Arunda Court (identified through the investigation as being Buck Brune’s
residence). Deputies followed Smith and observed Smith driving above the posted speed
limit. A uniformed Deputy in a marked Sheriff’s patrol unit initiated a traffic stop for the
speeding violation. Once stopped, Smith was issued a warning citation for speeding.

The Deputy then asked for consent to search Smith’s vehicle. Smith refused consent for
the search of the vehicle. The Deputy then deployed his K9 around the vehicle. The K9
alerted on the vehicle. An organized search of the vehicle was conducted and a digital
scale with methamphetamine residue was found in the center console of the vehicle.
Other Deputies searched the area believing Smith had thrown a package from the vehicle
prior to the traffic stop. Deputies located a black bag in a ravine directly in the path
Smith had driven prior to the traffic stop. The Deputies opened the black bag and found a
large bag containing smaller baggies, three baggies containing suspected
methamphetamine, a gram scale, and a methamphetamine pipe. Deputies conducted a
presumptive test on the substance, which tested positive for the known positive values of

methamphetamine with a gross weight of 72.0 grams.

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7. On or about August 22, 2018, a Reno Police Officer was working uniformed
patrol in Reno, Texas. While working patrol the officer observed a silver Hyundai SUV
being operated by a driver who was not wearing a seat belt. The Police officer conducted
a stop on the vehicle The driver of the vehicle was identified by his expired driver’s
license as Kenneth Wayne Barber. While speaking to Barber the Officer noticed that
Barber was acting nervous. The Officer also noticed a faint smell of marijuana emitting
from the vehicle The Officer issued Barber a warning for the No Seat Belt violation and
expired driver’s license The Officer asked Barber to step to the rear of the vehicle with
him and asked Barber if he had a pipe on him. Barber then stated that sometimes after
reporting to his probation officer, he would smoke marijuana with his cousin. Barber
told the Officer that this was the reason he could smell marijuana in the Vehicle. The
Officer then performed a probable cause search of the vehicle During the search, the
Officer located a plastic baggie containing suspected methamphetamine between the
driver’s seat and the emergency brake The officer conducted a presumptive test on
the suspected methamphetamine which was positive for the known positive values of
methamphetamine with a gross weight of 29.0 grams. The officer also seized Barber’s
phone Officers later applied for a and received a search warrant for Barber’s phone were
they found drug related text conversations with Buck Brune.

8. Agents corroborated that Buck Brune is the listed owner of the residence located
on XXX Arunda Court in Weatherford, TX. Investigators had received information that a

male in Arunda was dealing methamphetamine

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On or about August 29, 2018, members of the Wise County Sheriffs Office conducted a
trash pull at the residence of Buck Gene Brune. The Deputies took the trash to the Wise
County Sheriff` s Office were it was searched. The search of the trash revealed two large
zip lock bags, one heat-sealed kilo wrapper with suspected methamphetamine, a medium
sized zip lock bag with the corners cut off, and mail addressed to the target address.
Deputies conducted a presumptive test on the suspected methamphetamine The test
results were positive for the known positive values of methamphetamine

9. On or about September 6, 2018, Wise County Sheriff’s Deputies interviewed
Steven Dale Rountree in reference to Methamphetamine distribution in Wise County,
Texas. Rountree stated that he purchases methamphetamine from Wesley Wakeford but
has purchased methamphetamine from Stephen Graybill. Rountree stated that he has
been buying methamphetamine from Wesley Wakeford for one to one and a half years.
Rountree stated that he purchases methamphetamine from Wakeford every day to every
other day. Rountree stated that the amount he purchases depends on how much money he
has. Rountree said he had purchased .25 grams of methamphetamine to an ounce of
methamphetamine from Wakeford. Rountree provided the phone number used by
Wakeford to Investigators

10. On or about September 10, 2018, Wise County Sheriff s Deputies established
surveillance on Anthony Scott Smith, driving his white Dodge pickup in Wise County,
Texas. Deputies were monitoring Smith’s movements and received information that
Smith was at XXX Arunda Court, Buck Brune’s residence Deputies observed Smith

commit a traffic violation.

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A uniformed Deputy in a marked Sheriff’ s patrol unit initiated a traffic stop for the traffic
violation. The Deputy identified Smith as the driver and sole occupant of the vehicle A
K9 unit arrived at the traffic stop and deployed the K9 around the vehicle The K9
alerted. A probable cause search was then conducted on the vehicle The Deputies
located a grey lock box in the vehicle The lock box contained several small deal baggies
and a digital gram scale with white crystal residue A field test was conducted on the
residue from the digital scale The test was positive for methamphetamine Deputies
searched the area believing Smith had thrown a package from the vehicle prior to the
traffic stop. Deputies were able to locate a black bag. A search of the black bag revealed
suspected methamphetamine marijuana, deal baggies, and a methamphetamine-smoking
pipe Deputies seized Smith’s Galaxy cellphone. Deputies conducted a presumptive test
on the suspected methamphetamine which was positive for the known positive values of
methamphetamine with a gross weight of 176.61 grams.

ll. On or about September ll, 2018, members of the Wise County Sheriffs Office
conducted a trash pull at the residence of Wesley Wakeford. The Deputies took the
trash to the Wise County Sheriff’s Office were it was searched. The search of the trash
revealed a metal spoon with methamphetamine residue a sandwich style zip lock bag
with suspected methamphetamine residue and multiple hypodermic needles. Deputies
conducted a presumptive test on the suspected methamphetamine The test results were

positive for the known positive values of methamphetamine

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12. On September 12, 2018, members of the Wise County Sheriff’s Office conducted
a trash pull at the residence of Buck Gene Brune. The Deputies took the trash to the
Wise County Sheriffs Office were it was searched The search of the trash revealed two
large kilo wrappers containing suspected methamphetamine unused dryer sheets, latex
gloves, and a glass-smoking pipe with what appeared to be narcotic residue Deputies
conducted a presumptive test on the suspected methamphetamine The test results were
positive for the known positive values of methamphetamine

13. On or about October 2, 2018, Wise County Sheriff’s Deputies established
surveillance on Anthony Scott Smith, driving his white Dodge pickup`in Wise County,
Texas. Deputies followed Smith and observed several traffic violations. Once in the City
of Bridgeport, Texas, a uniformed Deputy in a marked Wise County Sheriff s Office unit
conduct a traffic stop on Smith. Once stopped Smith exited the vehicle Once out of the
vehicle Smith was asked for Consent to Search his vehicle Smith denied conscnt. A K9
officer was contacted for assistance A short time later, the K9 arrived at the location.
The K9 was deployed around the vehicle and had a positive alert. An organized search of
the vehicle was conducted. The search of the vehicle revealed the following,
approximately 28 grams of suspected methamphetamine a small amount of marijuana,
and 20 hydrocodone pills. Deputies conducted a presumptive test on the substance
which was positive for methamphetamine with a gross weight of 28.5 grams.

14. On or about October 10, 2018, a Deputy with the Wise County Sheriff’s Office
located a white Chevy Tahoe which matched the description of a vehicle which had

been previously reported to law enforcement to be transporting methamphetamine

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The vehicle was parked at the Allsup’s convenience store in Bridgeport, Texas. The
Deputy noticed that the registration of the vehicle was expired. The Deputy decided to
approach the vehicle and talk to the occupants. The driver was identified as Shaelynne
Adams and the passenger was identified as Justin Paul Shaw. After speaking with the
occupants, the Deputy asked Adams for Consent to Search the vehicle which Adams did
not grant. The Deputy then contacted a K9 for assistance The K9 arrived at the scene
within 10 minutes. The K9 was deployed and alerted on the vehicle A search of the
vehicle was conducted. A black unlocked safe was located in the rear of the Tahoe The
safe contained numerous deal baggies, a glass methamphetamine-smoking pipe and
suspected methamphetamine Deputies conducted a presumptive test on the substance,
which was positive for methamphetamine with a gross weight of 33.3 grams. During a
post Miranda interview Justin Shaw admitted to possessing methamphetamine and stated
that, he was transporting the methamphetamine to Holly Stapletonl.

15. On or about October 10, 2018, Wise County Sheriff’ s Deputies interviewed Justin
Paul Shaw in reference to his arrest mentioned in the prior paragraph and his knowledge
of the methamphetamine trafficking in Wise County, Texas. Shaw stated that he had
picked up an ounce of methamphetamine from Anthony Scott Smith and was at the
Allsup’s to deliver the ounce of methamphetamine to Holly Stapleton. Shaw stated that
Smith was selling methamphetamine to Marshall Coffman, Mark Hammond, Stephen

Graybill, Wes Wakeford, Holly Stapleton, and others.

 

1 Deputies with the Wise County Sheriff s Department identified Holly Stapleton and talked with her at the Allsups
at the time of Shaw’s arrest.

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Shaw stated that Smith kept his methamphetamine in a safe located in the kitchen of his
residence Shaw stated that he had observed approximately two pounds of
methamphetamine in the safe Shaw stated that he normally picks up one ounce of
methamphetamine a day from Smith. Shaw stated that Smith was charging $400.00 for
an ounce of methamphetamine Shaw provided Smith’s new phone number, Holly
Stapleton’s phone number, and several other phone numbers during the interview.

16. Gn or about October ll, 2018, Wise County investigators applied for and received
a search warrant2 to search Anthony Smith’s Facebook account. Anthony Smith’s
account shows Buck Brune, Wesley Wakeford, Tammy Smith, Stephen Graybill,
Holly Stapleton, and others as friends. A review of the instant messages from the
account revealed Tammy Smith, Stephen Graybill, and others discussing drug
purchases In one set of instant messages, Tammy Smith is telling Anthony Smith that
his phone is tapped. Tammy Smith also advises Anthony Smith to tell “Smiley” to watch
out he is next. Tammy Smith also advises Anthony Smith to delete the message once he
reads it.

17. On or about November 6, 2018, Wise County Sheriff’ s Deputies interviewed
Ashley Gahagan in reference to Methamphetamine distribution in Wise County, Texas.
Gahagan stated that she was purchasing her methamphetamine from Royal Bruce
Richards. Gahagan stated that she had seen Richards with approximately two pounds of

methamphetamine

 

2 On October ll, 2018, State District Judge Brock Smith signed a search warrant for Anthony Smith’s Facebook
account.

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Gahagan stated that she usually purchased two ounces of methamphetamine at a time
from Richards. Gahagan stated that she would pay $300.00 an ounce and $l60.00 for a
1/z ounce of methamphetamine Gahagan stated that she would in-turn sell the
methamphetamine for $450.00 to $500.00 an ounce Gahagan provided investigators
with Richards’ phone number. Gahagan also stated that Alesha Boudin purchased
methamphetamine from Richards. Gahagan stated that when Richards’ customers were
ready to purchase methamphetamine he would drive to Wise County, Texas. Gahagan
stated this happened on a daily bases.

18. On or about November 26, 2018, Wise County Sheriffs Deputies established
surveillance on Royal Bruce Richards. Deputies observed Richards commit a traffic
violation. Deputies contacted a marked Wise County Sheriff’ s unit and had Richards
stopped for the traffic violation. The Deputy approached the vehicle and identified the
driver as Richards. The Deputy issued Richards a warning for the traffic violation then
ask Richards for consent to search the vehicle he was driving. Richards consented to the
search of the vehicle The Deputy then retrieved his K9 and conducted an open-air
search around the vehicle The K9 alerted on the driver’s door of the vehicle The
Deputy advised Richards of the positive alert by the K9 on the vehicle and asked
Richards if there Were anything illegal in the vehicle Richards told the Deputy that there
was methamphetamine in the vehicle An organized search of the vehicle was conducted
The search resulted in the seizure of the following: methamphetamine cocaine

marijuana a detailed drug ledger.

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Deputies conducted a presumptive test on the substance which was positive for the
known positive values of methamphetamine with a gross weight of 104.23 grams. A
review of the ledger revealed drug transactions involving co-conspirators Ashley
Gahagan, Alicia Bouldin, and Jason Carter, among others.

19. On or about December 10, 2018, Wise County Sheriff’s Deputies established
surveillance on Royal Bruce Richards. Deputies observed Richards commit a traffic
violation. Deputies contacted a marked Wise County Sheriff`s unit and had Richards
stopped for the traffic violation. The Deputy approached the vehicle and identified the
driver as Richards. While the Deputy was waiting on traffic retums, the Deputy asked
Richards for consent to search the vehicle Richards denied. The K9, which was already
on scene deployed around the vehicle for an open-air search. The K9 alerted on the
vehicle A search of the vehicle revealed suspected methamphetamine and a plastic
baggie containing suspected methamphetamine residue Deputies conducted a
presumptive test on the suspected methamphetamine which was positive for the known
positive values of methamphetamine with a gross weight of 222.00 grams.

20. On or about December ll, 2018, members of the Wise County Sheriff’s Office
conducted a trash pull at the residence of Wesley Wakeford. The Deputies took the
trash to the Wise County Sheriff’s Office were it was searched. The search of the trash
revealed a plastic spoon with methamphetamine residue a broken glass pipe and
multiple hypodermic needles. Deputies conducted a presumptive test on the suspected
methamphetamine The test results were positive for the known positive values of

methamphetamine

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21. On or about December 12, 2018, members of the Wise County Sheriff’ s Office
and the Bridgeport Police Department executed a search warrant3 at the residence of
Wesley Wakeford. Wakeford was located in the residence and detained. An organized
search of the residence was conducted The following items were located in the
residence a plastic baggie containing suspected methamphetamine a digital scale a glass
smoking pipe with residue a spoon with residue and a syringe containing suspected
methamphetamine Deputies conducted a presumptive test on the substance which was
positive for the known positive values of methamphetamine with a gross weight of 2.4
grams.

22. On or about December 20, 2018, Wise County investigators applied for and
received a search warrant4 to search Anthony Smith’s Galaxy cellular telephone A
review of the text messages on the cellular phone revealed drug related conversations
between Stephen Graybill, Vicki Wiggins, and others.

23. On or about January 3, 2019, Investigators with the Texas Department of Public
Safety and the Wise County Sheriff’s Office conducted a consent to search at Royal
Richards residence located in Euless, Texas. During the organized search of the
residence suspected methamphetamine was found and seized. Investigators conducted a
presumptive test on the substance which was positive for the known positive values of

methamphetamine with a gross weight of 42.0 grams.

 

3 On December ll, 2018, State District Judge Brock Smith signed a search warrant to search Wesley Wakeford’s
residence

4 On December 20, 2018, State District Judge Brock Smith signed a search warrant to search Anthony Smith’s
Galaxy cellular phone seized on September 10, 2018.

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24. On or about January 3, 2019, Investigators with the Texas Department of Public
Safety interviewed Royal Richards. Richards stated that he was selling
methamphetamine Alicia Bouldin, Ashley Gahagan, Jason Carter and others.
Richards stated that he would usually sell Alicia Bouldin two ounces of
methamphetamine every other day from around September to the end of November 2018.
Richards stated that he would usually sell Ashley Gahagan a half ounce of
methamphetamine every other day from around September to end of November 2018.
Richards stated that he sold methamphetamine to Jason Carter for three and a half to four
months. Richards did not say how much or how often he would sell methamphetamine to
Carter. Richards stated that he was selling his methamphetamine for 3350.00 an ounce
A review of the drug ledger previously seized from Richards, corroborated this
methamphetamine trafficking

25. On or about January 7, 2019, Wise County Sheriff’ s Deputies interviewed Wesley
Wayne Wakeford in reference to Methamphetamine distribution in Wise County, Texas.
During the interview, Wakeford admitted to purchasing methamphetamine from Stephen
Graybill, Anthony Smith, Justin Shaw, and Alicia Bouldin. Wakeford would not
elaborate on people he was selling the methamphetamine

26. On or about January 13, 2019, an Officer with the Rhome Police Department
conducted a traffic stop on Jason Carter. Ultimately, a K9 was called to the scene The
K9 was deployed around the vehicle and alerted. A search of the vehicle was then
conducted Officers located a black metal case wrapped in black electrical tape Once

the box was opened, suspected methamphetamine was located.

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Officers conducted a presumptive test on the substance, which was positive for the
known positive values of methamphetamine with a gross weight of 7 .8 grams

27. On or about January 15, 2019, Investigators with the Wise County Sheriff’s
department conducted an interview with Jason Carter. During the interview, Carter
admitted to distributing methamphetamine Carter admitted to purchasing one ounce of
methamphetamine from Royal Richards every day. Carter stated that Richards was also
dealing methamphetamine to Ashley Gahagan.

28. On or about January 23, 2019, Wise County investigators applied for and received
a search warrant5 to search Jason Carter’s cellular telephone A review of the text
messages on the cellular phone revealed drug related texts to Jason Carter from Mark
Hammond. lt was noted by Investigators that Carter was erasing his texts messages on a
regular basis.

29. On or about January 24, 2019, members of the Wise County Sheriff`s Office
executed a search warrant6 at the residence of Mark Hammond. Once the residence was
secured, an organized search of the residence was conducted. During a search of the
residence a liquid substance was found and seized. Deputies conducted a presumptive
test on the liquid substance which was positive for the known positive values of

methamphetamine with a gross weight of 78.7 grams.

 

5 On January 23, 2019, State District Judge Brock Smith signed a search warrant to search Jason Carter’s LG
cellular phone seized on January 13, 2019.

6 On January 23, 2019, State District Judge Brock Smith signed a search warrant to search Mark Hammond’s
residence

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Although l have not listed all the facts regarding this conspiracy, I believe that the
facts stated above establish probable cause that the above-named defendants, Buck
Brune, Anthony Scott Smith, Royal Bruce Richards, Justin Paul Shaw, Wesley Wayne
Wakeford, Stephen Paul Graybill, Mark Hammond, Tammy Smith, Ashley Gahagan,
Alicia Bouldin, Tammy Smith, Jason Carter, Kenneth Wayne Barber and others known

and unknown, have violated 21 U.S.C. § 846 and 21 U.S.C. § 841(a) (l) and (b) (1) (C).

/Z/bl?e\wc_

Kevin K. Brown, Affiant
DEA - Task Force Officer

Sworn to before me and subscribed in my presence on the 8 day of
February, 2019, at §§ ‘-3] a.m., in Fort Worth, Texas.

 

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